         Case 2:07-cr-00059-TLN Document 163 Filed 07/14/09 Page 1 of 2


                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                  MEMORANDUM


Honorable Lawrence K. Karlton
Senior United States District Judge
Sacramento, California

                                           RE:    Van Dat DI
                                                  Docket Number: 2:07CR00059-05
                                                  RELEASE OF PASSPORT/
                                                  GREEN CARD

Your Honor:

On February 6, 2009, Your Honor sentenced the above noted offender to a violation of 18
USC 4 - Misprision of Felony (Class E Felony). He was sentenced to probation for a term
of 36 months. Special conditions of supervised release included: Search and seizure;
financial disclosure; and enroll and participate in adult educational training.

Mr. Di was under the supervision of the United States Pretrial Services from February 21,
2007 to February 6, 2009. As a condition of pretrial release, Mr. Vi was ordered to forfeit
his passport and green card to the clerk's office. Mr. Vi is requesting his passport and
green card be returned but the United States District Court Clerk's Office will not return the
passport without authorization from the sentencing judge.

Therefore, we are recommending that Your Honor agree to have the United States District
Court Clerk's Office release Mr. Di’s passport and green card to him.

                                  Respectfully submitted,


                                /s/Brenda Barron-Harrell
                             BRENDA BARRON-HARRELL
                             United States Probation Officer

Dated:        July 8, 2009
              Sacramento, California
              BBH/cp
                                                                                      Rev. 05/2006
                                              1                                MEMO ~ COURT.MRG
       Case 2:07-cr-00059-TLN Document 163 Filed 07/14/09 Page 2 of 2


RE:   Van Dat VI
      Docket Number: 2:07CR00059-05
      RELEASE OF PASSPORT/GREEN CARD




REVIEWED BY:     /s/Linda L. Alger
                 LINDA L. ALGER
                 Supervising United States Probation Officer




________________________________________________________________



AGREE: ____X______                        DISAGREE: ___________




_________________________________                     July 13, 2009
FRANK C. DAMRELL, JR., For                            DATE
LAWRENCE K. KARLTON
United States District Judge




                                                                             Rev. 05/2006
                                      2                               MEMO ~ COURT.MRG
